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                                                                    ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 6/22/2022
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   UNITED STATES OF AMERICA,                                  :
                                                              :
                                                              :         1:20-cr-314-GHW
                                 – against–
                                                              :
                                                              :             ORDER
   ETHAN PHELAN MELZER,                                       :
           a/k/a “Etil Reggad,”                               :
                                                              :
                                                              :
                                            Defendant.
                                                              X
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GREGORY H. WOODS, United States District Judge:

        For the avoidance of doubt, the Government’s oppositions to Defendant’s June 21, 2022

filings, as described in the Court’s June 22, 2022 order, are due no later than Saturday, June 25, 2022.

The remaining deadlines in that order remain in effect.

        SO ORDERED.

Dated: June 22, 2022
New York, New York                                           __________________________________
                                                                     GREGORY H. WOODS
                                                                    United States District Judge
